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                           UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF VIRGINIA
                                  Lynchburg Division

 STUDENT A, STUDENT C, AND                     )
 STUDENT D, individually and on                )
 behalf of all others similarly situated,      )
                                               )
         Plaintiffs,                           )             Case No. 6:20-cv-0023-NKM
                                               )
              v.                               )             Plaintiffs’ Notice of Filing
                                               )             Supplemental Exhibit
 LIBERTY UNIVERSITY, INC. d/b/a                )
 LIBERTY UNIVERSITY,                           )
                                               )
          Defendant.                           )


            PLAINTIFFS’ NOTICE OF FILING SUPPLEMENTAL EXHIBIT

       NOW COME Plaintiffs Student A, Student C, and Student D (collectively, “Plaintiffs”),

and hereby provide Plaintiffs’ Notice of Filing of a copy of the publicly available complaint, with

exhibits, that was filed by Liberty University in The Circuit Court for the City of Lynchburg,

Virginia, against Jerry L. Falwell, Jr. This complaint was referenced in the submissions and

hearing with respect to Defendant’s Motion to Quash or, in the Alternative, for Protective Order

Limiting Deposition Examination (Docket No. 158).

Dated: January 24, 2023                      Respectfully submitted,

                                             s/ Laure E. Reasons

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                                     CERTIFICATE OF SERVICE
       I hereby certify that the foregoing was filed using the Court’s CM/ECF electronic filing

system on January 24, 2023, which will cause a notice of such filing to be electronically delivered

to all counsel of record.




                                                     /s/ Laura E. Reasons




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